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UNITED srA'rEs DIsTRiCr COURT 95 xiqu 16 m 12 31

WESTERN DlSTRICT OF TENNESSEE HOBE?W tax m ,E_HOLLO
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WESTERN DIVISION no m 'r¢'-»z, aman-iss

HOST INTERNATIONAL, INC.,
Plaintiff,

v. Case No.: 2:05cv2l43-D/P
AAD: FITCH, INC., MECHANICAL
PLUMBING DESIGNS, CENTURY
CONSTRUCTION, INC. AND DAMON-

MARKUS,
Defendants.

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SCHEDULING ORDER

Pursuant to this Court’s Notice of Setting, a meeting of counsel was held on Wednesday,
June 8, 2005. Present were Kathy Bailey, Nicole Reyes and Christopher Dunn, counsel for
Plaintiff Host International, Inc.; Stephen Barton, counsel for Defendant AAD: Fitch; Michael
Derrick, counsel for Defendant Darnon-Markus and Parnela Hodge, counsel for Century
Construction, Ine. Neither counsel nor a representative of Defendant Mechanical Plumbing
Design was present, although Mechanical Plumbing had been notified of the meeting verbally
and in writing As a result of that meeting, the parties proposed a discovery schedule reflected in

this Order. Discovery will take place according to the following schedule:

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. Initial Disclosures pursuant to Fed.R.Civ.P. 26: June 22, 2005

2. lnitial report whether parties unanimously
consent to proceed before a United States
Magistrate Judge: July 15, 2005

3. l\/loving for joinder of additional Parties,
Amendment of pleadings, and initial Motions to
Dismiss: September 15, 2005

4. Plaintist Rule 26(a)(2) disclosures re experts: December 15, 2006
5. Defendants’ Rule 26(a)(2) disclosures re experts: January 16, 2006

6. Plaintiff` and Defendants Rebuttal Rule 26(a)(2)
disclosures re experts: 30 days after receipt of expert report

7. Discovery deadline; submission of status report: March 15, 2006

8. Dispositive motions deadline: April 15, 2006
9. Trial: 30 days after decision on any dispositive
motion

No depositions may be scheduled to occur after the discovery cutoff date. All motions,
requests for admissions, or other filings that require a response must be filed sufficiently in
advance of the discovery cutoff date to enable opposing counsel to respond by the time permitted
by the Rules prior to that date.

l\/Iotions to compel discovery are to be filed and served by the discovery deadline or
within 30 days of the default or the service of the response, answer, or objection, which is the
subject of the motion, if the default occurs within 30 days of the discovery deadline, unless the
time for filing such motion is extended for good cause shown, or the objection to the default,
response, answer, or objection shall be waived.

This case is set for a jury trial, which is expected to last 5 days. The pre-trial order date,

pre-trial conference date, and trial date will be set by the presiding judge as appropriate

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The parties are reminded that pursuant to Local Rule ll(a)(l)(A), all motions, except
motions pursuant to Fed. R. Civ. P. 12, 56, 59, and 60 shall be accompanied by a proposed order.

The opposing party may file a response to any motion filed in this matter. Neither party
may file an additional reply, however, Without leave of the court. If a party believes that a reply
is necessary, it shall file a motion for leave to file a reply accompanied by a memorandum setting
forth the reasons for which a reply is required

The parties have not consented to trial before the magistrate judge.

This order has been entered after consultation with trial counsel pursuant to notice.
Absent good cause shown, the scheduling dates set by this order will not be modified or

extended.

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Tu M. Pham
United States Magistrate Judge
Date: TL\WL \l)z 1 2'60.’§'_“

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June 16, 2005 to the parties listed.

Notice of Distribution

This notice confirms a copy of the document docketed as number 26 in
case 2:05-CV-02143 was distributed by faX, mail, or direct printing on

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Honorable Bernice Donald
US DISTRICT COURT

